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     James John Rud and Brian Keith Hausfeld,
                       vs.
              Nancy Johnston, et al.

          U.S. District Court No. 23-cv-486




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